          Case 2:17-cv-00190-TOR     ECF No. 50   filed 02/28/18   PageID.892 Page 1 of 2



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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7    ZEN INDUSTRIES, INC., dba
      American Mine Door Co.,                        NO: 2:17-CV-0190-TOR
 8
                                   Plaintiff,        ORDER OF DISMISSAL
 9                                                   WITH PREJUDICE
              v.
10
      HOFFMAN MANUFACTURING,
11    INC.,

12                                 Defendant.

13            BEFORE THE COURT is the parties’ Stipulated Motion for Dismissal with

14   Prejudice (ECF No. 49). The parties represent that all disputes in this matter have

15   been resolved and jointly move the Court to dismiss this action with prejudice

16   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each party to bear

17   its own costs and attorneys’ fees.

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
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 1         ACCORDINGLY, IT IS HEREBY ORDERED:

 2         1. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and the parties’ stipulation, all

 3   claims and counterclaims that could have been asserted herein based on the facts

 4   plead, are DISMISSED with prejudice and with each party to bear its own costs

 5   and attorneys’ fees.

 6         2. Any pending motions are DENIED as moot and all hearings are stricken

 7   from the Court’s calendar.

 8         3. This Court retains jurisdiction to enforce the terms of this settlement.

 9         The District Court Executive is hereby directed to enter this Order, provide

10   copies to counsel, and CLOSE the file.

11         DATED February 28, 2018.

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                                     THOMAS O. RICE
14                            Chief United States District Judge

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
